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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

          v.
                                           Crim. No. 17-232 (EGS)
MICHAEL T. FLYNN,

                         Defendant




                           NOTICE OF APPEARANCE

      The United States of America, by and through its attorney, the United States

Attorney for the District of Columbia, informs the Court and counsel that Assistant

United States Attorney Kenneth C. Kohl is entering his appearance on behalf of the

United States.

                                        Respectfully submitted,

                                        MICHAEL R. SHERWIN
                                        UNITED STATES ATTORNEY
                                        N.Y. Bar No. 4444188

                                  By:             /s/
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